UNITED STATES DISTRICT COURT)

EASTERN DISTRICT OF WISCONSIN

   

UNITED STATES OF AMERICA

Vv. — CRIMINAL COMPLAINT

CASE NUMBER: 19-M- °)4°3
TOMMY LEE JENKINS
(DOB: 01/26/1987)

|, Michael J. Sewall, the undersigned complainant, being duly sworn, states the following is
true and correct to the best of my knowledge and belief. That on or about October 1, 2019, in the
State and Eastern District of Wisconsin, Tommy Lee Jenkins, did commit violations of Title 18, United
States Code, Section 2422(b) “use of a computer to attempt to entice a minor to engage in sexual
activity.”

| further state that | am a Sheriff's Deputy with the Winnebago County Sheriff's Office, and this
complaint is based on the following facts:

Please see the attached affidavit.

Continued on the attached sheet and made a part hereof: .X Yes _ No

 

palure of Complainant
ichael J. Sewall
Sworn to before me and subscribed in my presence,

October 10, 2019 at Green Bay, Wisconsin
Date City and State

 

 

  

The Honorable James R. Sickel LO

 

 

United States Magistrate Judge J /
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Name & Title of Judicial Officer | C Sa ROE Oe

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Your affiant is employed as an investigator with the Winnebago County Sheriff's Office in

Oshkosh, Wisconsin. Your affiant is a sworn law enforcement officer in the State of Wisconsin
and has been an internet crimes against children investigator for the past six years. Your affiant
has received over 500 hours of specialized training in the investigation of online child exploitation
and sensitive crimes and also trains other investigators in undercover online child exploitation

investigations.

Your affiant began an undercover internet crimes against children operation utilizing Facebook on
October 1, 2019. Your affiant began posing as a 14-year-old juvenile female from Neenah, which
is within the Eastern District of Wisconsin. The name on the undercover account is Kylee Marie
and your affiant utilizes an undercover photograph provided by an employee of the Winnebago

County Sheriff's Office. I am aware that the internet is a facility and means of interstate commerce.

On October 1, 2019, your affiant was accepted as a friend by a user with username Tommy Jenkins.
The user's profile picture was that of a fish tank and was known to your affiant based upon a past
investigation involving sexual assault of several children. Your affiant was aware of this profile
and suspect prior to conducting this investigation. Therefore, your affiant was aware that this
profile was utilized by an individual by the name Tommy Lee Jenkins DOB: 01/26/1987. Your
affiant previewed the pictures on the user’s Facebook profile and saw a plethora of images of the
juvenile females involved in the past sexual assault investigation as well as pictures of Tommy
Jenkins himself. Your affiant was able to identify Jenkins based upon past interactions with the

suspect and his time in custody at the Winnebago County Jail.

At the onset of the conversation your affiant asked Jenkins how old he was and he replied that he
was 32. Your affiant informed the user that the profile was 14 years old and the user proceeded to
ask the undercover where she lived, to which your affiant replied "neenah". The user stated that he
had two step kids that were 2 and 9. Based on previous interactions with Jenkins your affiant knew
these to be the juveniles involved in his most recent suspected sexual assault case. Your affiant
reiterated the fact that the undercover was 14 to Jenkins stating "do u care im 14 and drink?" to
which he replied "no". Your affiant informed the user again of the age of the undercover stating "i

dont drive tho im only 14 lol" and Jenkins acknowledged this statement saying "Ya. At your age I

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was 15 when I got the first DUI". Jenkins then asked for a-picture of the undercover and your
affiant sent him another undercover photograph. Jenkins then sent an image of himself. Your »
affiant was able to identify that image as being Tommy Jenkins based upon my past interactions

with him.

Jenkins brought up meeting for the first time stating "If i had the money I would bring you up
we're I am at right now and I would so you how a dad should be to you", "if i had the money i
would put u on a bus". Jenkins then came up with an excuse for the undercover to give the
undercover's parents stating "Ok. Tell her ou need to go see a friends and help her mom and dad
for like 2 to 3 weeks. And you would call her ever day. Do she have video call?" Jenkins continued
to talk to the undercover about getting a house together and being able to drink as much as she
wanted and party. Jenkins continues on by saying "U would be my kid for ever", " I have people

that would take care of it with the paperwork".

Jenkins brought up sex for the first time stating "Have you ever had sex with a friend in school or
at a party" I replied "ya i have". Jenkins then asked "what pory did you have it in, I need to now",
"what port did he put it on to". I replied "O my vagina lol". Jenkins then said "When you get here
o will tak to i about that to make shere you are ok down in your private you are a young lady. And

i want to make sure you are ok I had a sister did the same thing you are doing".

Jenkins then began to ask for more pictures but with "no shirt no pants" as he put it and that if the
undercover did he would send a picture in return. Your affiant proceeded to send Jenkins an image
of the undercover in a bathing suit and he stated he would send a picture when he got home later
in the night. Jenkins continued to ask for more explicit imagery of the undercover saying "no
underwear if you can, is that okay with you if we are going to be that would like to see the good
pictures". Your affiant then asked "what is your fav part?!!" to which he replied "front part love

you my little one".

Jenkins initially brought up having sex with the undercover stating "1, when you get her would
you like to have sex with me" to which your affiant replied "yes!!", Jenkins then said "O need to
see if u are going to do it. just pull ur out ur underwear and take a picture", "when you get home
take all of your close off after you text me","be home by 12am or when you get here you will see
what a will man can do on you vagina you not had the way that you will say go go babe dont stop",

"we will have you over the bed and go 20 go to you do not what it for 24 to 34 hours before work

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and when I get down with work all night long","we will have sex soon as you get here and u will °

not what to stop at all and u will not have no close on".

Jenkins then said "I will not have not one thang on it down there when it is in side of your vagina",
"have you ever had a toy in side of you or a vibrator on the outside". On Sunday October 6, 2019,
Jenkins sent the undercover an image of a male's erect penis with a hand at the base and stated
"can you send your picture now", "would you like me to come up to Wisconsin and get you and
we could go see different thanks in the United States", "Can I come to you and then we will go

some were" to which your affiant replied "Yess".

Jenkins then stated "Send me the picture" to which your affiant replied "what picture". He replied
"of your vagina", "a picture of you naked". Jenkins continued asking for naked images of the
undercover stating "I want the one of you naked", "go to the bathroom and take a picture with ur
pants and underwear down and send it to me". Jenkins then said "I will need to take a shower bafor
we do one thang with sx I will need a shower before we have intercourse, do I get to play down

by your vagina when I get there". Your affiant replied "yea for sure!".

Jenkins then informed your affiant that he had started walking from where he was in Whitetown,
Indiana, to Neenah, Wisconsin, in order to have sex with the undercover. Jenkins detailed the trip
stating "Whitetown Indiana 371.3 miles 2-4 days I will tell you when i get to neenah 108 hours by
walking and by bike I am liking at 30 hours", "before we go out of neenah we will need to do it
one tome". Jenkins informed me that he was almost in Wisconsin and that he would tell me when

he got to Wisconsin.

Throughout the course of the undercover conversation, Jenkins sends images of his travels to
include photographs of exit signs, “selfies” at various locations with timestamps, and landmarks

such as churches.

On October 10, 2019, today’s date, Jenkins informed your affiant that he had made it to the State
of Wisconsin, J enkins stated that he was currently in Milwaukee and that someone had purchased
a bus ticket for him to get there. Jenkins went on to describe how he wanted to have multiple
children with the undercover and that he would like to have the first one within a year’s time.
Jenkins then said that he wanted to “have 500 kids before we are with GOD”. He also tells the

undercover “don’t play to hold tonight”, “with ur vagina much the next two day lol”.

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Based on my training and experience and the facts as set forth in this affidavit, there is probable
cause to believe that Tommy Lee Jankins, has commited acts in violation of Title 18, United

States Code, Section 2422(b) “use of a computer to attempt to entice a minor to engage in sexual

activity.”

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Depty Michael J. Sewall
Winnebago County Sheriff's Office

Subscribed and sworn before me this /O day

Oclalen , 2019.

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eZ onorable James R. sickel

United States Magistrate Judge

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